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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Crave Products, Inc.                           )
                                               )       Case No. 1:19-cv-1765
v.                                             )
                                               )       Judge: Hon. Gary Feinerman
THE PARTNERSHIPS and                           )
UNINCORPORATED ASSOCIATIONS                    )       Magistrate: Hon. Susan E. Cox
Hon. IDENTIFIED ON SCHEDULE “A”                )
                                               )

                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Crave Products, Inc., voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                                    Store ID
 5             cheapbulk                                     cheapbulk
 20            yynuodun                                      yynuodun
 172           Bayshop Store                                 3013001
 216           Dedication Store                              3510046
 223           kitchen&bar Supplies Store                    3581018
 346           uuplay good value drop shipping Store         4507089
 408           myturkıshmall                                 A1YXJP4YSCE5V2
 461           JRingUS                                       A3UV297MS1MALQ

Dated: July 14, 2019                           Respectfully submitted,

                                               By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

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